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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                 4:01CR148
                                     )
           v.                        )
                                     )
DARRELL W. MILLER,                   )                   ORDER
                                     )
                Defendant.           )
                                     )


     IT IS ORDERED:

     Defendant is released under the same conditions of release
previously imposed with the additional condition that he have no
contact with Michelle Miller or Scott McGarr.

     DATED this 19th day of September, 2006.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
